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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION

LEAGUE OF WOMEN VOTERS OF
FLORIDA, INC., et al.,
                                             Case No.   4:21-cv-186-MW/MAF
      Plaintiffs,                                       4:21-cv-187-MW/MAF
                                                        4:21-cv-201-MW/MAF
             v.                                         4:21-cv-242-MW/MAF

LAUREL M. LEE, in her official
capacity as Florida Secretary of State, et
al.,

      Defendants,

             and

REPUBLICAN NATIONAL
COMMITTEE, et al.,
    Intervenor-Defendants.



             Parties’ Table of Objections and Responses


Witness                                                            Page No.
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2021
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              Deposition of Elizabeth Guzzo taken October 22, 2021

Designating      Page Range   Objection                           Response
Party
Plaintiffs       30:1-14      30:1-7                              •   Cincinnati Insurance Co. v.
                                                                      Serrano does not address the
                              • Object to Form - Vague, see
                                                                      phrase “conducting elections”
                                Cincinnati Ins. Co. v. Serrano,
                                                                      and in fact holds that an
                                No. 11-2075-JAR, 2012 U.S.
                                                                      objection that a question is
                                Dist. LEXIS 1363, at *13 (D.
                                                                      “vague” is usually improper,
                                Kan. Jan. 5, 2012). Form
                                                                      because “[o]nly the witness
                                objection preserved, vague as
                                                                      knows whether she
                                to meaning of “conducting
                                                                      understands a question, and
                                elections”.
                                                                      the witness has a duty to
                                                                      request clarification if
                                                                      needed,” and “[i]f defending
                                                                      counsel feels that an answer
                                                                      evidences a failure to
                                                                      understand a question, this
                                                                      may be remedied on cross-
                                                                      examination.”
Plaintiffs       32:5-9       • Relevance, see Fed. R. Evid.      •   What the Florida legislature
                                401, 402.                             considered is relevant to the
                                                                      state’s interest, if any, in the
                                                                      Challenged Provisions. The
                                                                      witness was speaking for the
                                                                      OAG as a 30(b)(6)
                                                                      representative, within the
                                                                      scope of the subpoena (See
                                                                      Subpoena, Exhibit 167– ECF
                                                                      No. 461-15).
Plaintiffs       33:4-7       • Relevance, see Fed. R. Evid.      •   Whether the Attorney General
                                401, 402.                             has done any analysis is
                                                                      relevant to the state’s
                                                                      interest, if any, in the
                                                                      Challenged Provisions, and the
                                                                      intent behind them.
Plaintiffs       39:1-25      39:20-23                            •   Whether the Attorney General
                                                                      requested the changes in the
                              • Relevance, see Fed. R. Evid.
                                                                      bill is relevant to the state’s
                                401, 402.
                                                                      interest, if any, in the
                                                                      Challenged Provisions, and the
                                                                      intent behind them.


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              Deposition of Elizabeth Guzzo taken October 22, 2021

Designating      Page Range   Objection                          Response
Party
Plaintiffs       44:1-45:20   44:25-45:3                         44:25-45:3
                              • Object to form -                 •   Question does not assume
                                Argumentative/assumes facts          anything but merely asks
                                not in evidence; question            whether the OAG had
                                assumes that there are other         conducted analysis of any
                                ways of serving the goals of         other ways of serving SB 90’s
                                changes to 3PVRO                     goals.
                                requirements. Garcia v.          •   Whether OAG has attempted
                                Clark, No. 1:10-CV-00447-LJO,        to use other ways to serve SB
                                2012 U.S. Dist. LEXIS 51771,         90’s goals is relevant to the
                                2012 WL 1232315, at *2 (E.D.         state’s interest, if any, in the
                                Cal. Apr. 12, 2012).                 Challenged Provisions.
                                                                 •   Garcia v. Clark merely granted
                                                                     a motion to compel
                                                                     interrogatory response, noting
                                                                     that assuming facts not in
                                                                     evidence may be the basis for
                                                                     a trial objection, and says
                                                                     nothing about this particular
                                                                     question.
                              45:7-13                            45:7-13
                              • Object to form -                 •   Question does not state a
                                argumentative; question              legal conclusion but merely
                                states a legal conclusion that       asks the witness to confirm
                                SB 90 requires "recitation"          her understanding of the
                                (i.e. verbal warnings). See          statute’s requirements.
                                United States v. Barile, 286
                                F.3d 749, 760 (4th Cir. 2002).
Plaintiffs       53:12-24      53:22-24                          •   Whether the Attorney General
                                                                     requested the changes in the
                              • Relevance, see Fed. R. Evid.
                                                                     bill is relevant to the state’s
                                401, 402.
                                                                     interest, if any, in the
                                                                     Challenged Provisions, and the
                                                                     intent behind them.
Plaintiffs       56:23-57:3   • Relevance, see Fed. R. Evid.     •   To the extent that Defendants
                                401, 402.                            assert SB 90 is justified by
                                                                     voter fraud, whether the
                                                                     Secretary in fact referred any
                                                                     voter fraud complaints to the
                                                                     OAG is relevant to the state’s


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              Deposition of Elizabeth Guzzo taken October 22, 2021

Designating      Page Range    Objection                          Response
Party
                                                                      interest, if any, in the
                                                                      Challenged Provisions, and the
                                                                      intent behind them. Whether
                                                                      the OAG was aware of such
                                                                      complaints having been
                                                                      referred is also relevant to the
                                                                      state’s interest, if any, in the
                                                                      Challenged Provisions. The
                                                                      witness was speaking for the
                                                                      OAG as a 30(b)(6)
                                                                      representative, within the
                                                                      scope of the subpoena (See
                                                                      Subpoena, Exhibit 167 – ECF
                                                                      No. 461-15).
Plaintiffs       57:13-58:16   58:12-16                           •   Question did not assume
                                                                      anything. If no enforcement
                               • Object to form - assumes
                                                                      actions have been brought the
                                 facts not in evidence; OAG
                                                                      witness could say no.
                                 has not filed any enforcement
                                 actions against 3PVROs. See      •   Garcia v. Clark merely granted
                                 Garcia v. Clark, No. 1:10-CV-        a motion to compel
                                 00447-LJO, 2012 U.S. Dist.           interrogatory response, noting
                                 LEXIS 51771, 2012 WL                 that assuming facts not in
                                 1232315, at *2 (E.D. Cal. Apr.       evidence may be the basis for
                                 12, 2012).                           a trial objection, and says
                                                                      nothing about this particular
                                                                      question.
Plaintiffs       63:17-66:14   64:21 - 65:8                       •   The stipulated fact does not
                                                                      render this cumulative,
                               • Objection – cumulative. It is
                                                                      because the witness’s answer
                                 already stipulated that "With
                                                                      referring to “facts and
                                 respect to enforcement of
                                                                      circumstances” goes beyond
                                 Section 97.0575(3)(a), the
                                                                      the stipulated fact and
                                 Attorney General does not
                                                                      provides additional
                                 have any written or unwritten
                                                                      information.
                                 procedures or protocols
                                 specifically addressing          •   AG Equip. Co. v. AIG Life Ins.
                                 referrals from the Secretary         Co affirmed a finding that a
                                 pursuant to 97.0575(4)." (See        judge who sustained
                                 ECF 402, p. 38, para. 53). See       cumulative objections was not
                                 AG Equip. Co. v. AIG Life Ins.       biased; it has nothing to do
                                                                      with pretrial stipulations.



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              Deposition of Elizabeth Guzzo taken October 22, 2021

Designating      Page Range   Objection                           Response
Party
                                Co., 636 F. Supp. 2d 1210,
                                1235 (N.D. Okla. 2009).
Plaintiffs       68:2-21      68:18-19                            68:18-19
                              • Objection – cumulative. It is     •   This provides additional
                                already stipulated that "The          information beyond the
                                Attorney General has pursued          stipulation—namely, that
                                no enforcement actions                there were no enforcement
                                against 3PVROs since 2012."           actions “initiated,” in addition
                                (See ECF 402, p. 31, para. 17).       to not having been “pursued.”
                                See AG Equip. Co. v. AIG Life     •   AG Equip. Co. v. AIG Life Ins.
                                Ins. Co., 636 F. Supp. 2d 1210,       Co affirmed a finding that a
                                1235 (N.D. Okla. 2009).               judge who sustained
                                                                      cumulative objections was not
                                                                      biased; it has nothing to do
                                                                      with pretrial stipulations.
                              68:20-21                         68:20-21
                              • Object to form - Assumes
                                                               • Question assumes nothing,
                                facts not in evidence; OAG
                                                                   the witness could have said
                                has not filed any enforcement
                                                                   that there were no
                                actions against 3PVROs. See
                                                                   enforcement actions filed.
                                Garcia v. Clark, No. 1:10-CV-
                                                               • Garcia v. Clark merely granted
                                00447-LJO, 2012 U.S. Dist.
                                                                   a motion to compel
                                LEXIS 51771, 2012 WL
                                                                   interrogatory response, noting
                                1232315, at *2 (E.D. Cal. Apr.
                                                                   that assuming facts not in
                                12, 2012).
                                                                   evidence may be the basis for
                                                                   a trial objection, and says
                                                                   nothing about this particular
                                                                   question.
Plaintiffs       69:2-15      69:2-3                              69:2-3
                              • Object to form - Assumes       •      Question assumes nothing,
                                facts not in evidence; OAG            the witness could have said
                                has not filed any enforcement         that there were no
                                actions against 3PVROs. See           enforcement actions filed.
                                Garcia v. Clark, No. 1:10-CV-  •      AG Equip. Co. v. AIG Life Ins.
                                00447-LJO, 2012 U.S. Dist.            Co affirmed a finding that a
                                LEXIS 51771, 2012 WL                  judge who sustained
                                1232315, at *2 (E.D. Cal. Apr.        cumulative objections was not
                                12, 2012).                            biased; it has nothing to do
                                                                      with pretrial stipulations.


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              Deposition of Elizabeth Guzzo taken October 22, 2021

Designating      Page Range     Objection                           Response
Party
                                69:9-15                             69:9-15
                                • Objection – cumulative. It is     •   This provides additional
                                  already stipulated that "The          information beyond the
                                  Attorney General has pursued          stipulation—namely, that
                                  no enforcement actions                there were no seeking of
                                  against 3PVROs since 2012."           injunctions or restraining
                                  (See ECF 402, p. 31, para. 17).       orders, specifically.
                                  See AG Equip. Co. v. AIG Life     •   Garcia v. Clark merely granted
                                  Ins. Co., 636 F. Supp. 2d 1210,       a motion to compel
                                  1235 (N.D. Okla. 2009).               interrogatory response, noting
                                                                        that assuming facts not in
                                                                        evidence may be the basis for
                                                                        a trial objection, and says
                                                                        nothing about this particular
                                                                        question.
Plaintiffs       70:19 – 71:3   70:19-20                            70:19-20
                                 • Object to form -                 • Question is asking about the
                                   argumentative; question            factual presence of such
                                   assumes legal conclusion           actions, not about the legal
                                   that subsection 4 would            authority and does not assume
                                   authorize criminal actions.        anything.
                                   See United States v. Barile,
                                   286 F.3d 749, 760 (4th Cir.
                                   2002).

Plaintiffs       72:20-73:19    73:5-11                             73:5-11
                                • Objection - cumulative; It is    • The stipulated fact does not
                                  already stipulated that "With      render this cumulative, because
                                  respect to enforcement of          the witness’s answer referring to
                                  Section 97.0575(3)(a), the         “facts and circumstances” goes
                                  Attorney General does not          beyond the stipulated fact and
                                  have any written or unwritten      provides additional information
                                  procedures or protocols          • The stipulated fact does not
                                  specifically addressing            address
                                  referrals from the               • whether there are other non-
                                • Secretary pursuant to              systematic approaches to
                                  97.0575(4)." (See ECF 402, p.      handling referrals in the AG’s
                                  38, para. 53). See AG Equip.       office, therefore it is not
                                  Co. v. AIG Life Ins. Co., 636 F.   cumulative.



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Designating      Page Range   Objection                          Response
Party
                                Supp. 2d 1210, 1235 (N.D.
                                Okla. 2009).
                              73:12-15                           73:12-15
                              • Objection - cumulative; It is  • The stipulated fact does not
                                already stipulated that "With    directly address whether at a
                                respect to enforcement of        high level there is a general
                                Section 97.0575(3)(a), the       process in place for handling
                                Attorney General does not        referrals in the AG’s office, aside
                                have any written or unwritten    from protocols or procedures,
                                procedures or protocols          therefore it is not cumulative.
                                specifically addressing
                                                                • AG Equip. Co. v. AIG Life Ins.
                                referrals from the Secretary
                                                                    Co affirmed a finding that a
                                pursuant to 97.0575(4)." (See
                                                                    judge who sustained
                                ECF 402, p. 38, para. 53). See
                                                                    cumulative objections was not
                                AG Equip. Co. v. AIG Life Ins.
                                                                    biased; it has nothing to do
                                Co., 636 F. Supp. 2d 1210,
                                                                    with pretrial stipulations.
                                1235 (N.D. Okla. 2009).




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               Deposition of Alan Hays taken October 6, 2021

Designating   Page Range      Objection                           Response
Party
Plaintiffs    26:17 – 27:14   26:21 – 27:1                        •   Goes to credibility, as the
                                                                      evidence will show that SB 90
                              • Relevance, see Fed. R. Evid.
                                                                      was passed along partisan
                                401, 402. See 134:9-11.
                                                                      lines. Indeed, the RNC is a
                                                                      Intervenor-Defendant.
Plaintiffs    39:10 – 43:19   43:15 – 43:19                       43:15 – 43:19
                              • Hearsay, see Fed. R. Evid.        •   FSE’s statement is admissible
                                801, 802.                             not for the truth of any factual
                                                                      matter asserted by FSE, but
                                                                      rather to show what FSE’s
                                                                      official position was.
                                                                  •   The fact that FSE opposed the
                                                                      law is itself relevant to the
                                                                      lack of justifications for the
                                                                      law, and to the Legislature’s
                                                                      purposes in passing SB 90.
Plaintiffs    46:3 – 46:19    • Lack of Foundation, see Fed.      •   Withdraw designation of
                                R. Evid. 602.                         46:12-14 (“I don’t recall . . .
                              • Lack of Personal Knowledge,           time.” and 46:16-19 (“but I
                                see Fed. R. Evid. 602 (“A             don’t think . . . that day.”)
                                witness may testify to a          •   The remainder of the
                                matter only if evidence is            witness’s answer (“As a
                                introduced sufficient to              matter of fact, the bill did not
                                support a finding that the            include any of our top
                                witness has personal                  priorities”) falls within the
                                knowledge of the matter.”).           witness’s personal knowledge,
                                (“I don’t recall. . . . I would       is relevant, and is not contrary
                                have to review my written             to his statement that he does
                                speech that day.”)                    not remember what he said
                                                                      that day.
                                                                  •   Any objection to that portion
                                                                      of the answer was waived
                                                                      because not
                                                                      contemporaneously made.
                                                                  •   In any event, this is a party-
                                                                      opponent statement as to
                                                                      which personal knowledge is
                                                                      not, required. See Wright &
                                                                      Miller, Fed. Practice &
                                                                      Procedure § 6782.


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               Deposition of Alan Hays taken October 6, 2021

Designating   Page Range      Objection                         Response
Party
Plaintiffs    47:13 – 47:18   • Hearsay, see Fed. R. Evid.      •   FSE’s statement is admissible
                                801, 802.                           not for the truth of any factual
                                                                    matter asserted by FSE, but
                                                                    rather to show what FSE’s
                                                                    official position was. The fact
                                                                    that FSE opposed the law is
                                                                    itself relevant to the lack of
                                                                    justifications for the law, and
                                                                    to the Legislature’s purposes
                                                                    in passing SB 90.
                                                                •   The witness’s agreement with
                                                                    the FSE statement concerns
                                                                    his own views of SB 90, which
                                                                    is also not hearsay.
Plaintiffs    51:12 – 53:4    52:11 – 52:13                     52:11 – 52:13
                              • Speculation, Fed. R. Evid. 701.
                                                                • Objection waived because not
                                (“Probably so.”)
                                                                    contemporaneously made.
                                                                    Had an objection been raised,
                                                                    counsel could have clarified
                                                                    what witness meant by
                                                                    “probably so.”
                                                                • Whether the witness had
                                                                    recommended to voters that
                                                                    they mail their ballots a week
                                                                    in advance is within the
                                                                    witness’s personal knowledge
                                                                    and is not speculative.
                                                                • In any event, this is a party-
                                                                    opponent statement as to
                                                                    which personal knowledge is
                                                                    not required. See Wright &
                                                                    Miller, Fed. Practice &
                                                                    Procedure § 6782.
Plaintiffs    55:16 – 60:13   55:24 – 56:12                     •   The statements of voters are
                                                                    admissible as their then-
                              • Hearsay, see Fed. R. Evid.
                                                                    existing mental or emotional
                                801, 802. (“They expressed to
                                                                    state (Fed. R. Evid. 803(3))—
                                us on multiple occasions how
                                                                    they were “grateful” and why.
                                grateful they were for the
                                drop box convenience, that      •   In any event, this is a party-
                                they could drop it off after        opponent statement as to
                                                                    which personal knowledge is

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               Deposition of Alan Hays taken October 6, 2021

Designating   Page Range      Objection                           Response
Party
                               hours or on the weekends or            not required. See Wright &
                               things like that.”)                    Miller, Fed. Practice &
                                                                      Procedure § 6782.
Plaintiffs    60:25 – 61:12   • Lack of Foundation, see Fed.      •   The witness’s answer is based
                                R. Evid. 602.                         on his years of experience as a
                              • Calls for Speculation, (“I            Supervisor of Elections,
                                expect a significant                  providing adequate
                                percentage will probably              foundation.
                                want to continue to vote by       •   In any event, this is a party-
                                mail.”), Fed. R. Evid. 701.           opponent statement as to
                              • Lack of Personal Knowledge,           which personal knowledge is
                                see Fed. R. Evid. 602 (“A             not reqd. See Wright & Miller,
                                witness may testify to a              Fed. Practice & Procedure §
                                matter only if evidence is            6782.
                                introduced sufficient to          •   “A significant percentage” is
                                support a finding that the            not inadmissibility vague.
                                witness has personal                  Witness was instructed to ask
                                knowledge of the matter.”).           for clarification if he did not
                              • Object to Form - Vague, see           understand a question and
                                Cincinnati Ins. Co. v. Serrano,       evidently understood this one.
                                No. 11-2075-JAR, 2012 U.S.            [17:21-24].
                                Dist. LEXIS 1363, at *13 (D.      •   Cincinnati Insurance Co. v.
                                Kan. Jan. 5, 2012). (Form             Serrano does not address the
                                objection preserved, vague as         phrase “a significant
                                to meaning of “a significant          percentage” and in fact holds
                                percentage”).                         that an objection that a
                                                                      question is “vague” is usually
                                                                      improper, because “[o]nly the
                                                                      witness knows whether she
                                                                      understands a question, and
                                                                      the witness has a duty to
                                                                      request clarification if
                                                                      needed,” and “[i]f defending
                                                                      counsel feels that an answer
                                                                      evidences a failure to
                                                                      understand a question, this
                                                                      may be remedied on cross-
                                                                      examination.”
Plaintiffs    66:9 – 67:25    66:20 – 66:25                       •   Objection waived because not
                                                                      contemporaneously made.
                              • Speculation, Fed. R. Evid. 701.
                                                                      Had an objection been made,
                                (“I wouldn’t begin to

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               Deposition of Alan Hays taken October 6, 2021

Designating   Page Range     Objection                            Response
Party
                              speculate the distance. . . .           counsel could have clarified
                              we can . . . probably                   what the witness did and did
                              determine what make and                 not know, and the basis for it.
                              model of the car it is . . . .”).   •   The witness described what
                                                                      he did know about the
                                                                      position of the cameras, while
                                                                      declining to speculate on the
                                                                      precise distance. The
                                                                      information that he did
                                                                      provide is relevant to the
                                                                      security provided by the
                                                                      cameras and within his
                                                                      personal knowledge.
                                                                  •   In any event, this is a party-
                                                                      opponent statement as to
                                                                      which personal knowledge is
                                                                      not required. See Wright &
                                                                      Miller, Fed. Practice &
                                                                      Procedure § 6782.
Plaintiffs    68:4 – 70:22   68:10 – 68:24                        68:10 – 68:24
                             • Speculation, Fed. R. Evid. 701. •      Objection waived because not
                               (Speculates that because “no           contemporaneously made.
                               one informed us of any          •      The witness is Supervisor of
                               suspected misdeeds that                Elections for Lake County and
                               might have been done there”            is describing what his office in
                               and “there was no evidence             fact did and its reasons for
                               inside the box on any of the           doing it, which is not
                               ballots” that there was “no            speculative and as to which he
                               need” to review the footage).          has personal knowledge.
                                                               •      In any event, this is a party-
                                                                      opponent statement as to
                                                                      which personal knowledge is
                                                                      not required. See Wright &
                                                                      Miller, Fed. Practice &
                                                                      Procedure § 6782.




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               Deposition of Alan Hays taken October 6, 2021

Designating   Page Range      Objection                           Response
Party
Plaintiffs    76:12 – 77:15   76:12 – 76:15                       76:12 – 76:15
                              • Calls for Speculation, Fed. R.    •   The witness is Supervisor of
                                Evid. 701.                            Elections for Lake County and
                              • Object to Form - Vague, see           would know whether the
                                Cincinnati Ins. Co. v. Serrano,       office’s drop boxes were
                                No. 11-2075-JAR, 2012 U.S.            heavily used—i.e., whether
                                Dist. LEXIS 1363, at *13 (D.          they were popular.
                                Kan. Jan. 5, 2012). (Form         •   In any event, this is a party-
                                objection preserved, vague as         opponent statement as to
                                to meaning of “popular”).             which personal knowledge is
                                                                      not required. See Wright &
                                                                      Miller, Fed. Practice &
                                                                      Procedure § 6782.
                                                                  •   As to vagueness, Cincinnati
                                                                      Insurance Co. v. Serrano does
                                                                      not address the word
                                                                      “popular” and in fact holds
                                                                      that an objection that a
                                                                      question is “vague” is usually
                                                                      improper, because “[o]nly the
                                                                      witness knows whether she
                                                                      understands a question, and
                                                                      the witness has a duty to
                                                                      request clarification if
                                                                      needed,” and “[i]f defending
                                                                      counsel feels that an answer
                                                                      evidences a failure to
                                                                      understand a question, this
                                                                      may be remedied on cross-
                                                                      examination.”
                              76:18 – 77:11                       76:18 – 77:11
                              • Hearsay, see Fed. R. Evid.        •   The voters’ statements at
                                801, 802.                             76:21-23 are their then-
                                                                      existing mental or emotional
                                                                      state (that they appreciated
                                                                      the drop boxes) and so
                                                                      admissible under Fed. R. Evid.
                                                                      803(3).




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               Deposition of Alan Hays taken October 6, 2021

Designating   Page Range      Objection                         Response
Party
                                                                •   The remainder of witness’s
                                                                    answer does not involve
                                                                    hearsay at all.

                              77:12 – 77:15                     77:12 – 77:15
                              • Hearsay, see Fed. R. Evid.      •   The voter’s statements
                                801, 802.                           expressing appreciation are
                                                                    their then-existing mental or
                                                                    emotional state and so
                                                                    admissible under Fed. R. Evid.
                                                                    803(3).
Plaintiffs    78:24 – 79:21   79:10 – 79:13                     79:10 – 79:13
                              • Hearsay, see Fed. R. Evid.      •   There is no out-of-court
                                801, 802.                           statement here. The witness
                                                                    states what he did—consulted
                                                                    with supervisors in other
                                                                    counties who had very
                                                                    successfully used it” and what
                                                                    he decided based on those
                                                                    conversations.
                                                                •   In any event, the Supervisors
                                                                    are all party opponents, so
                                                                    any implied statement is
                                                                    admissible as a party-
                                                                    opponent statement.
Plaintiffs    84:15 – 84:23   • Calls for a legal conclusion,   •   This testimony goes to the
                                see United States v. Barile,        witness’s factual
                                286 F.3d 749, 760 (4th Cir.         understanding of the law and
                                2002).                              his reasons for removing a
                                                                    drop box, not to a legal
                                                                    interpretation of the statute.
                                                                •   In any event, this is not
                                                                    contested—the parties agree
                                                                    that, as the witness says, you
                                                                    can no longer have a camera-
                                                                    monitored drop box after SB
                                                                    90.




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Designating   Page Range      Objection                           Response
Party
Plaintiffs    85:10 – 87:18   85:10 – 85:14                       85:10 – 85:14
                              • Relevance, see Fed. R. Evid.      •   The fact that the witness, a
                                401, 402.                             longstanding Supervisor of
                                                                      Elections, thinks the in-person
                                                                      monitoring requirement is
                                                                      “absurd” goes to the lack of
                                                                      justification for that
                                                                      requirement.
                              87:1 – 87:8                         87:1 – 87:8
                              • Calls for a legal conclusion,     •   This testimony goes to the
                                see United States v. Barile,          witness’s factual
                                286 F.3d 749, 760 (4th Cir.           understanding of the law and
                                2002).                                his reasons for removing a
                                                                      drop box, not to a legal
                                                                      interpretation of the statute.
                              87:9 – 87:18                        87:9 – 87:18
                              • Relevance, see Fed. R. Evid.      •   The fact that the witness, a
                                401, 402.                             longstanding Supervisor of
                              • Object to Form - Vague, see           Elections, thinks the $25,000
                                Cincinnati Ins. Co. v. Serrano,       fine is “a slap in the face,”
                                No. 11-2075-JAR, 2012 U.S.            “insulting,” and “totally
                                Dist. LEXIS 1363, at *13 (D.          unnecessary, unwarranted,
                                Kan. Jan. 5, 2012). (Form             and completely out of order”
                                objection preserved, vague as         goes to the lack of justification
                                to meaning of “necessary”).           for that provision.
                                                                  •   As to vagueness, Cincinnati
                                                                      Insurance Co. v. Serrano does
                                                                      not address the word
                                                                      “necessary” and in fact holds
                                                                      that an objection that a
                                                                      question is “vague” is usually
                                                                      improper, because “[o]nly the
                                                                      witness knows whether she
                                                                      understands a question, and
                                                                      the witness has a duty to
                                                                      request clarification if
                                                                      needed,” and “[i]f defending
                                                                      counsel feels that an answer
                                                                      evidences a failure to
                                                                      understand a question, this

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Designating   Page Range      Objection                          Response
Party
                                                                     may be remedied on cross-
                                                                     examination.”
Plaintiffs    91:13 – 91:17   91:13 – 91:17                      91:13 – 91:17
                              • Calls for a legal conclusion,    •   This testimony goes to the
                                see United States v. Barile,         witness’s factual
                                286 F.3d 749, 760 (4th Cir.          understanding of the law and
                                2002).                               his reasons for removing a
                                                                     drop box, not to a legal
                                                                     interpretation of the statute.
Plaintiffs    92:17 – 96:13   94:19 – 96:5                       94:19 – 96:5
                              • Calls for Speculation, Fed. R.   •   Objection waived because not
                                Evid. 701.                           contemporaneously made.
                              • Lack of Personal Knowledge,          Had an objection been raised,
                                see Fed. R. Evid. 602.               counsel could have clarified
                                                                     the basis for the witness’s
                                                                     knowledge.
                                                                 •   The witness is being asked
                                                                     about a prior statement in
                                                                     which he described his drop
                                                                     box as “more secure” than the
                                                                     USPS mailbox that replaced it
                                                                     as a result of SB 90, and is
                                                                     explaining why he
                                                                     characterized it that way. His
                                                                     explanation concerns the
                                                                     activities of his own office,
                                                                     and falls within his personal
                                                                     knowledge.
                                                                 •   In any event, this is a party-
                                                                     opponent statement as to
                                                                     which personal knowledge is
                                                                     not required. See Wright &
                                                                     Miller, Fed. Practice &
                                                                     Procedure § 6782.
Plaintiffs    96:18 – 97:18   97:10-18                           •   The underlying postal service
                                                                     notice is admissible as a public
                              • Hearsay, see Fed. R. Evid.
                                                                     record under Fed. R. Evid.
                                801, 802 (postal service
                                                                     803(8) – a statement of a
                                notice being offered for the
                                                                     public office setting forth that
                                truth of the matter asserted
                                                                     office’s activities.

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Designating   Page Range      Objection                           Response
Party
                               that the USPS will have            •   In any event, admissible not
                               difficulties with promptness).         only for the truth of the
                                                                      matter asserted but also for
                                                                      the effect on listeners,
                                                                      including the witness and
                                                                      voters, who will need to adjust
                                                                      mail delivery expectations as a
                                                                      result of the Post Office’s
                                                                      statement, whether or not it is
                                                                      true.
Plaintiffs    99:2 – 100:4    • Hearsay, see Fed. R. Evid.        •   Admissible not for truth of any
                                801, 802.                             factual matter asserted but for
                                                                      the outcome of the
                                                                      conversation: that witness
                                                                      was unable to reach an
                                                                      arrangement with the Post
                                                                      Office whereby ballots
                                                                      deposited in the USPS mailbox
                                                                      outside his office would be
                                                                      delivered directly to him,
                                                                      without intermediate
                                                                      processing.
Plaintiffs    102:2 –         102:7 – 102:12                      •   Objection waived because not
              102:12                                                  contemporaneously made.
                              • Speculation, Fed. R. Evid. 701.
                                                                      Had an objection been raised,
                                                                      counsel could have clarified
                                                                      the basis for the witness’s
                                                                      knowledge.
                                                                  •   The witness’s assertion is
                                                                      based on his personal
                                                                      knowledge and experience
                                                                      serving as Supervisor of
                                                                      Elections for many years.
                                                                  •   In any event, this is a party-
                                                                      opponent statement as to
                                                                      which personal knowledge is
                                                                      not required. See Wright &
                                                                      Miller, Fed. Practice &
                                                                      Procedure § 6782.
Plaintiffs    103:2 – 104:1   • Calls for Speculation, Fed. R.    •   There is ample foundation and
                                Evid. 701. (“It would be my           basis for this testimony in the

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Designating   Page Range   Objection                           Response
Party
                             opinion that the USPS box . . .       witness’s prior explanation of
                             .”)                                   the differences between mail-
                           • Lack of Personal Knowledge,           handling and drop boxes. E.g.,
                             see Fed. R. Evid. 602.                94:21-96:5.
                                                               •   In any event, this is a party-
                                                                   opponent statement as to
                                                                   which personal knowledge is
                                                                   not required. See Wright &
                                                                   Miller, Fed. Practice &
                                                                   Procedure § 6782.
Plaintiffs    122:14 –     122:18 – 123:1                      122:18 – 123:1
              123:16
                           • Calls for a legal conclusion, see •   The witness is explaining his
                             United States v. Barile, 286          own factual understanding of
                             F.3d 749, 760 (4th Cir. 2002).        the law, which is relevant as
                                                                   he will be the one to apply it
                                                                   in Lake County.
                           123:2 – 123:6                       123:2 – 123:6
                           • Calls for a legal conclusion, see •   The witness expressly declines
                             United States v. Barile, 286          to offer any legal conclusion
                             F.3d 749, 760 (4th Cir. 2002).        and does not convey any out-
                           • Hearsay, see Fed. R. Evid.            of-court statement.
                             801, 802.

                           123:7 – 123:10                      123:7 – 123:10
                           • Calls for a legal conclusion, see •   The witness is explaining his
                             United States v. Barile, 286          own factual understanding of
                             F.3d 749, 760 (4th Cir. 2002).        the law, which is relevant as
                           • Lack of Personal Knowledge,           he will be the one to apply it
                             see Fed. R. Evid. 602.                in Lake County.
                                                               •   Lack of personal knowledge
                                                                   objection waived because not
                                                                   contemporaneously made.
                                                                   Had an objection been raised,
                                                                   counsel could have clarified
                                                                   the basis for the witness’s
                                                                   knowledge.
                                                               •   The witness’s answer reflects
                                                                   how he will apply the law in
                                                                   his own county as Supervisor


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Designating   Page Range   Objection                          Response
Party
                                                                  of Elections, as to which he
                                                                  has personal knowledge.
                                                              •   In any event, this is a party-
                                                                  opponent statement as to
                                                                  which personal knowledge is
                                                                  not required. See Wright &
                                                                  Miller, Fed. Practice &
                                                                  Procedure § 6782.
Plaintiffs    125:6 –      126:12–14                          126:12–14
              126:17
                           • Calls for Speculation, Fed. R.   •   Objection waived because not
                             Evid. 701.                           contemporaneously made.
                           • Lack of Personal Knowledge,          Had an objection been raised,
                             see Fed. R. Evid. 602.               counsel could have clarified
                                                                  the basis for the witness’s
                                                                  knowledge.
                                                              •   The witness is the Supervisor
                                                                  of Elections for Lake County
                                                                  and has experience with this
                                                                  system, providing ample basis
                                                                  for his testimony.
                                                              •   In any event, this is a party-
                                                                  opponent statement as to
                                                                  which personal knowledge is
                                                                  not required. See Wright &
                                                                  Miller, Fed. Practice &
                                                                  Procedure § 6782.
                           126:15–17                          126:15–17
                           • Calls for Speculation, Fed. R.   •   Objection waived because not
                             Evid. 701.                           contemporaneously made.
                           • Lack of Personal Knowledge,          Had an objection been raised,
                             see Fed. R. Evid. 602.               counsel could have clarified
                                                                  the basis for the witness’s
                                                                  knowledge.
                                                              •   The witness is the Supervisor
                                                                  of Elections for Lake County
                                                                  and has experience with this
                                                                  system, providing ample basis
                                                                  for his testimony.
                                                              •   In any event, this is a party-
                                                                  opponent statement as to


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Designating   Page Range   Objection                        Response
Party
                                                                 which personal knowledge is
                                                                 not required. See Wright &
                                                                 Miller, Fed. Practice &
                                                                 Procedure § 6782.
Plaintiffs    127:12 –     • Speculation, Fed. R. Evid. 701. •   Objection waived because not
              127:18         (“[I]f one were to                  contemporaneously made.
                             calculate . . .”)                   Had an objection been raised,
                           • Lack of Personal Knowledge,         counsel could have clarified
                             see Fed. R. Evid. 602. (“But        the basis for and extent of the
                             beyond that, I don’t know of        witness’s knowledge.
                             any impact it would have.”)     •   The witness explained the
                                                                 extent of his knowledge—
                                                                 there would be some fiscal
                                                                 impact, but he does not know
                                                                 exactly what it would be. That
                                                                 testimony is relevant to show
                                                                 the effects of the provision,
                                                                 and within his personal
                                                                 knowledge as a Supervisor of
                                                                 Elections.
                                                            •    In any event, this is a party-
                                                                 opponent statement as to
                                                                 which personal knowledge is
                                                                 not required. See Wright &
                                                                 Miller, Fed. Practice &
                                                                 Procedure § 6782.
Plaintiffs    144:15 –     144:15 – 144:20                  144:15 – 144:20
              145:17
                           • Speculation, Fed. R. Evid. 701. •   Objection waived because not
                                                                 contemporaneously made.
                                                                 Had an objection been raised,
                                                                 counsel could have clarified
                                                                 the basis for the witness’s
                                                                 knowledge.
                                                            •    The witness amply explained
                                                                 the basis for this statement,
                                                                 including at 94:21-96:5, and is
                                                                 not speculating.
                                                            •    In any event, this is a party-
                                                                 opponent statement as to
                                                                 which personal knowledge is
                                                                 not required. See Wright &

                                         18
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Designating   Page Range   Objection                           Response
Party
                                                                   Miller, Fed. Practice &
                                                                   Procedure § 6782.
                           144:21 – 144:24                     144:21 – 144:24
                           • Hearsay, see Fed. R. Evid.        •   The witness does not convey
                             801, 802.                             any out-of-court statement,
                                                                   much less for the truth of a
                                                                   factual assertion, but instead
                                                                   refers to the lack of any
                                                                   statement.
                           145:4–17                            145:4–17
                           • Hearsay, see Fed. R. Evid.        •   Objection waived because not
                             801, 802 (“. . . the lady asked       contemporaneously made.
                             me ‘why are they doing                Had an objection been raised,
                             this.’”)                              counsel could have clarified
                                                                   the basis for the witness’s
                                                                   knowledge.
                                                               •   The witness statement that he
                                                                   does not know of any other
                                                                   justifications for the
                                                                   challenged law is a matter
                                                                   within his personal knowledge
                                                                   and relevant, since the
                                                                   witness is an experienced
                                                                   Supervisor of Elections.
                                                               •   The witness’s statement that
                                                                   he tried to explain to
                                                                   legislators that the law was
                                                                   bad policy is within his
                                                                   personal knowledge and
                                                                   relevant to the purposes of
                                                                   the law.
                                                               •   In any event, this is a party-
                                                                   opponent statement as to
                                                                   which personal knowledge is
                                                                   not required. See Wright &
                                                                   Miller, Fed. Practice &
                                                                   Procedure § 6782.
                                                               •   As to hearsay, the quoted
                                                                   question “Why are they doing
                                                                   this?” does not contain an


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Designating   Page Range   Objection                          Response
Party
                                                                  assertion of fact and thus is
                                                                  not hearsay.
Plaintiffs    150:12 –     150:12–21                          150:12–21
              151:22
                           • Calls for Speculation, Fed. R.   •   The witness was asked about
                             Evid. 701.                           and testified to his own
                           • Lack of Personal Knowledge,          awareness of fraud events,
                             see Fed. R. Evid. 602.               which as Supervisor of
                                                                  Elections he would have
                                                                  reason to be aware of, had
                                                                  they occurred.
                                                              •   In any event, this is a party-
                                                                  opponent statement as to
                                                                  which personal knowledge is
                                                                  not required. See Wright &
                                                                  Miller, Fed. Practice &
                                                                  Procedure § 6782.
                           151:17 – 151:22                    151:17 – 151:22
                           • Speculation, Fed. R. Evid. 701. •    Objection waived because not
                             (“I guess one could conclude         contemporaneously made.
                             that they probably are.”)            Had an objection been raised,
                                                                  counsel could have clarified
                                                                  the basis for the witness’s
                                                                  knowledge.
                                                              •   The witness was asked about
                                                                  and offered his own opinion
                                                                  about the sufficiency of
                                                                  safeguards, as to which he
                                                                  clearly has personal
                                                                  knowledge, and which is
                                                                  based on his experience as
                                                                  Lake County Supervisor of
                                                                  Elections. He expressly
                                                                  explains the basis for that
                                                                  opinion in his answer—that he
                                                                  has not seen any instances of
                                                                  fraud.
                                                              •   In any event, this is a party-
                                                                  opponent statement as to
                                                                  which personal knowledge is
                                                                  not required. See Wright &


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Designating   Page Range     Objection                           Response
Party
                                                                     Miller, Fed. Practice &
                                                                     Procedure § 6782
Defendants    153:6-19       153:6-19                            Defendants will preserve this
                                                                 designation because Plaintiffs
                             • Fed. R. Evid. 401 and 402
                                                                 designate material related to
                               (Assistance claim dismissed;
                                                                 ballot harvesting, including at
                               discussion of ballot collection
                                                                 120:7-12.
                               is irrelevant)
                             • Fed. R. Evid. 802 (Hays Exhibit   Regarding Hays Exhibit 13,
                               13, marked as an exhibit at       Defendants take the position that
                               152:1-2, is Trial Ex. 181, to     objection to exhibits in deposition
                               which Plaintiffs maintain their   designations is improper because
                               hearsay objection, which was      exhibits are admitted as a matter
                               timely asserted in the Exhibit    of course if the accompanying
                               List, ECF No. 402-1 at 38.)       testimony is admitted.
                                                                 Nevertheless, Hays Exhibit 13
                                                                 (Trial Ex. 181) is offered here not
                                                                 for the truth of the matter
                                                                 asserted, but to show that the
                                                                 State was notified of the
                                                                 Supervisor’s concerns and
                                                                 recommendations.
Defendants    154:7-9; and   154:7-9; and                        Defendants will preserve this
              154:24-25      154:24-25                           designation because Plaintiffs
                                                                 designate material related to
                             • Fed. R. Evid. 401 and 402
                                                                 ballot harvesting, including at
                               (Assistance claim dismissed;
                                                                 120:7-12.
                               discussion of ballot collection
                               is irrelevant)
Defendants    177:15-178:18 • Fed. R. Evid. 401 and 402          •   Relevant because
                              (“SB90 would not prevent”)             demonstrates 3PVROs have a
                                                                     history of fraud in Florida, and
                                                                     thus illustrates the need for
                                                                     the legislature to further
                                                                     regulate 3PVROs and the
                                                                     importance of notifying voters
                                                                     of alternative methods of
                                                                     registration besides 3PVROs.
Plaintiffs    202:17-24      • Legal conclusion, see United      •   The witness is describing his
                               States v. Barile, 286 F.3d 749,       factual understanding of the
                               760 (4th Cir. 2002).

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Designating   Page Range   Objection                           Response
Party
                                                                   effects of Senate Bill 90, not a
                                                                   legal conclusion.
                                                               •   In any event, it is not disputed
                                                                   that Senate Bill 90 requires
                                                                   drop boxes to be manned.
Plaintiffs    208:1-25     208:8–13                            •   Defendant does not speculate
                                                                   on the exact amount and
                           • Speculation, Fed. R. Evid. 701
                                                                   states that spending would be
                             (“I would have to look at it to
                                                                   a poor utilization of taxpayer
                             decide . . . .”)
                                                                   dollars, which does not
                                                                   depend on the exact
                                                                   calculation.
Defendants    209:22 –     • Fed. R. Evid. 802 (Hays Exhibit   Defendants take the position that
              210:21         15, marked as an exhibit at       objection to exhibits in deposition
                             209:19-20, is Trial Ex. 183, to   designations is improper because
                             which Plaintiffs maintain         exhibits are admitted as a matter
                             their hearsay objection,          of course if the accompanying
                             which was timely asserted in      testimony is admitted.
                             the Exhibit List, ECF No. 402-1   Nevertheless, Defendants offer
                             at 38.)                           Hays Exhibit 15 (Trial Ex. 183) not
                                                               for the truth of the matter
                                                               asserted by the policy, but only for
                                                               the existence of a policy;
                                                               Supervisor Hays testified based on
                                                               has personal knowledge that the
                                                               policy was followed.
                                                               Alternatively, it is a record kept
                                                               and maintained in the course of a
                                                               regularly conducted activity of a
                                                               business, organization,
                                                               occupation, or calling under FRE
                                                               803(6).
Plaintiffs    220:21 –     221:2 – 221:11                      221:2 – 221:11
              222:7
                           • Lack of Personal Knowledge,       •   Objection waived because not
                             see Fed. R. Evid. 602. (“If I         contemporaneously made.
                             didn’t send that identical            Had an objection been raised,
                             one, I certainly sent one very        counsel could have clarified
                             similar.”) (“I may have sent          the basis for the witness’s



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Designating   Page Range   Objection                        Response
Party
                            that to two or three others          knowledge and the extent of
                            [sic] legislators as well.”)         his recollection.
                                                            •    The witness is describing his
                                                                 own text messages, and he
                                                                 relays the extent of his
                                                                 knowledge and does not go
                                                                 beyond it.
                                                            •    The witness’s statement that
                                                                 he probably sent such text
                                                                 messages (or one very similar)
                                                                 to a Senator is relevant to the
                                                                 information before the
                                                                 legislature in connection with
                                                                 SB 90.
                                                            •    In any event, this is a party-
                                                                 opponent statement as to
                                                                 which personal knowledge is
                                                                 not required. See Wright &
                                                                 Miller, Fed. Practice &
                                                                 Procedure § 6782.
                           222:2 – 222:7                    222:2 – 222:7
                           • Object to Form - Assumes        •   The question does not assume
                             Facts Not in Evidence, Garcia       anything – it quotes from the
                             v. Clark, No. 1:10-CV-00447-        witness’s own statement, in
                             LJO, 2012 U.S. Dist. LEXIS          which he in fact described the
                             51771, 2012 WL 1232315, at          law in that way.
                             *2 (E.D. Cal. Apr. 12,          •   The witness’s opinion that the
                             2012) (Form objection               elimination of video
                             preserved, 222:5).                  surveillance of drop boxes
                           • Speculation, Fed. R. Evid. 701.     does not help anyone is not
                                                                 speculative, but is based on
                                                                 his years of experience as
                                                                 Supervisor of Elections in Lake
                                                                 County, and is fully explained
                                                                 in earlier testimony.




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              Deposition of Craig Latimer taken October 11, 2021

Designating    Page Range     Objection                           Response
Party
Plaintiffs     25:14 – 26:6   25:17 – 26:6                        25:17 – 26:6
                              • Speculation, Fed. R. Evid. 701.   • Objection waived because not
                                See 82:16 – 83:17 (“I am            contemporaneously made.
                                speculating at this point, we       ECF 403 ¶4 & Fed. R. Civ. P.
                                haven't had an election.”)          32(d)(3)(B). Had an objection
                              • Lack of Personal Knowledge,         been raised, counsel could
                                see Fed. R. Evid. 602 (“A           have clarified the basis for the
                                witness may testify to a matter     witness’s knowledge and
                                only if evidence is introduced      opinions.
                                sufficient to support a finding   • This is a party-opponent
                                that the witness has personal       statement as to which
                                knowledge of the matter.”).         personal knowledge is not, in
                                See also 82:16 – 83:17 (“I am       any event, required. See
                                speculating at this point, we       Wright & Miller, Fed. Practice
                                haven't had an election.”)          & Procedure § 6782.
                                                                  • The witness is describing his
                                                                    own opinions, as to which he
                                                                    has personal knowledge.
                                                                  • The witness’s opinions are
                                                                    based on his years of
                                                                    experience as a Supervisor of
                                                                    Elections.
Plaintiffs     27:11 – 28:24 28:23–24                             28:23–24
                              • Lack of Personal Knowledge,     • Objection waived because not
                                see Fed. R. Evid. 602 (“A         contemporaneously made. ECF
                                witness may testify to a matter   403 ¶4 & Fed. R. Civ. P.
                                only if evidence is introduced    32(d)(3)(B). Had an objection
                                sufficient to support a finding   been raised, counsel could have
                                that the witness has personal     clarified the basis for the
                                knowledge of the matter.”).       witness’s knowledge and
                                (“I don’t know that we were       opinions.
                                listened to.”)                  • This is a party-opponent
                              • Speculation, Fed. R. Evid. 701.   statement as to which personal
                                                                  knowledge is not, in any event,
                                                                  required. See Wright & Miller,
                                                                  Fed. Practice & Procedure
                                                                  § 6782.
                                                                • The witness is describing his
                                                                  own opinions, as to which he
                                                                  has personal knowledge.


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Designating    Page Range   Objection                           Response
Party
                                                                • The witness’s opinions are
                                                                  based on his years of
                                                                  experience as a Supervisor of
                                                                  Elections.
                                                                • The witness was asked whether
                                                                  he believes he had adequate
                                                                  opportunity to participate in
                                                                  the legislative process; he
                                                                  answered “I don’t know that
                                                                  we were listened to”; use of “I
                                                                  don’t know” in this context
                                                                  does not demonstrate that the
                                                                  witness did not know the
                                                                  answer to the question.
Plaintiffs     47:11 – 48:13 47:18–20                           47:18–20
                            • Legal conclusion, see United      • Form objection not made at the
                              States v. Barile, 286 F.3d 749,     deposition is waived. ECF 403
                              760 (4th Cir. 2002).                ¶4 & Fed. R. Civ. P. 32(d)(3)(B).
                                                                • The question does not call for a
                                                                  finding of law; the question
                                                                  asks the witness, in his capacity
                                                                  as a Supervisor of Elections,
                                                                  about the practice of his office
                                                                  in certain factual
                                                                  circumstances.
                                                                • The witness is explaining his
                                                                  own factual understanding of
                                                                  the law, which is relevant as he
                                                                  will be the one to apply it in
                                                                  Hillsborough County.
                            47:21-23                            47:21-23
                            • Legal conclusion, see United      • Form objection not made at the
                              States v. Barile, 286 F.3d 749,     deposition is waived. ECF 403
                              760 (4th Cir. 2002).                ¶4 & Fed. R. Civ. P. 32(d)(3)(B).
                                                                • The question does not call for a
                                                                  finding of law; the question
                                                                  asks the witness, in his capacity
                                                                  as a Supervisor of Elections,
                                                                  about the practice of his office



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Designating    Page Range     Objection                           Response
Party
                                                                    in certain factual
                                                                    circumstances.
                                                                  • The witness is explaining his
                                                                    own factual understanding of
                                                                    the law, which is relevant as he
                                                                    will be the one to apply it in
                                                                    Hillsborough County.
Plaintiffs     58:24 – 60:5   59:9–10                             59:9–10
                              • Speculation, Fed. R. Evid. 701.   • The question does not call for
                                See 59:11 – 59:16 (“It hasn’t       speculation; the witness
                                because right now all of the        responds referencing the
                                requests that are on file . . .     factual changes which will be
                                will be good through 2022.”).       imposed by SB90.
                                                                  • This is a party-opponent
                                                                    statement as to which personal
                                                                    knowledge is not, in any event,
                                                                    required. See Wright & Miller,
                                                                    Fed. Practice & Procedure
                                                                    § 6782.
                                                                  • The witness is describing his
                                                                    own opinions, as to which he
                                                                    has personal knowledge.
                                                                  • The witness’s opinions are
                                                                    based on his years of
                                                                    experience as a Supervisor of
                                                                    Elections.
                                                                  • The witness is explaining his
                                                                    factual understanding of the
                                                                    law, which is relevant as he will
                                                                    be the one to apply it in
                                                                    Hillsborough County.
Plaintiffs     74:13 – 75:21 74:16–21                             74:16–21
                              • Speculation, Fed. R. Evid. 701.   • Objection waived because not
                                See 59:11 – 59:16 (“It hasn’t       contemporaneously made. ECF
                                because right now all of the        403 ¶4 & Fed. R. Civ. P.
                                requests that are on file . . .     32(d)(3)(B). Had an objection
                                will be good through 2022.”).       been raised, counsel could have
                                                                    clarified the basis for the
                                                                    witness’s knowledge and
                                                                    opinions.

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Designating    Page Range    Objection                           Response
Party
                                                                  • The witness is describing his
                                                                    own opinions, as to which he
                                                                    has personal knowledge.
                                                                  • The witness’s opinions are
                                                                    based on his years of
                                                                    experience as a Supervisor of
                                                                    Elections.
                                                                  • This is a party-opponent
                                                                    statement as to which
                                                                    personal knowledge is not, in
                                                                    any event, required. See
                                                                    Wright & Miller, Fed. Practice
                                                                    & Procedure § 6782.
Plaintiffs     88:2 – 113:16 95:21-25                            95:21-25
                             • Hearsay, see Fed. R. Evid. 801,   • The witness is describing his
                               802.                                own opinions, as to which he
                                                                   has personal knowledge.
                                                                 • The witness’s opinions are
                                                                   based on his years of
                                                                   experience as a Supervisor of
                                                                   Elections.
                                                                 • The witness’s reference to the
                                                                   President, Governor, and SoS
                                                                   statements admissible not for
                                                                   the truth of any factual matter
                                                                   asserted by President,
                                                                   Governor, or SoS, but rather to
                                                                   show what their official
                                                                   position was.
                             98:17-24                            98:17-24
                             • Hearsay, see Fed. R. Evid. 801,   • The question asks the witness
                               802.                                about a statement released by
                                                                   his office after SB90 was
                                                                   passed, that he testified he
                                                                   helped prepare;
                                                                 • The question asks the witness
                                                                   about a statement of a party-
                                                                   opponent and is not hearsay
                                                                   under FRE 801;



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Designating    Page Range   Objection                           Response
Party
                                                                • the statement is not presented
                                                                  for the truth of the matter
                                                                  asserted but to demonstrate
                                                                  the effect of those statements
                                                                  on the witness’s office.
                            99:6–18                             99:6–18
                            • Hearsay, see Fed. R. Evid. 801,   • The question asks the witness
                              802.                                about a statement released by
                                                                  his office after SB90 was
                                                                  passed, that he testified he
                                                                  helped prepare;
                                                                • The question does not contain
                                                                  an assertion of fact and thus is
                                                                  not hearsay;
                                                                • The question asks the witness
                                                                  about a statement of a party-
                                                                  opponent and is not hearsay
                                                                  under FRE 801.
                            99:19-22                            99:19-22
                            • Hearsay, see Fed. R. Evid. 801,   • The question asks the witness
                              802                                 about a statement released by
                                                                  his office after SB90 was
                                                                  passed, that he testified he
                                                                  helped prepare;
                                                                • The question does not contain
                                                                  an assertion of fact and thus is
                                                                  not hearsay;
                                                                • The question asks the witness
                                                                  about a statement of a party-
                                                                  opponent and is not hearsay
                                                                  under FRE 801
                            100:1-4                             100:1-4
                            • Hearsay, see Fed. R. Evid. 801,   • The question does not contain
                              802.                                an assertion of fact and thus is
                                                                  not hearsay; the witness is
                                                                  responding based on his own
                                                                  experience, about which he has
                                                                  personal knowledge.



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Designating    Page Range   Objection                             Response
Party
                                                                  • The question asks the witness
                                                                    about a statement of a party-
                                                                    opponent and is not hearsay
                                                                    under FRE 801
                            100:25 – 101:5                        100:25 – 101:5
                            • Lack of Personal Knowledge,     • The witness is shown a news
                              see Fed. R. Evid. 602 (“A         article in which he is quoted,
                              witness may testify to a          and asked about the
                              matter only if evidence is        statements he made in the
                              introduced sufficient to          article.
                              support a finding that the      • The question asks the witness
                              witness has personal              about a statement of a party-
                              knowledge of the matter.”). (“I   opponent and is not hearsay
                              don’t recall at this time.”)      under FRE 801.
                            • Hearsay, see Fed. R. Evid. 801, • This is a party-opponent
                              802.                              statement as to which personal
                                                                knowledge is not, in any event,
                                                                required. See Wright & Miller,
                                                                Fed. Practice & Procedure
                                                                § 6782.
                            101:16–25                             101:16–25
                            • Hearsay, see Fed. R. Evid. 801,     • Form objection not made at the
                              802.                                  deposition is waived. ECF 403
                            • Speculation, Fed. R. Evid. 701.       ¶4 & Fed. R. Civ. P. 32(d)(3)(B).
                              (“I think I spoke to that talking     This could have been cured by
                              about . . . .”)                       establishing more definitively
                                                                    that witness has no reason to
                                                                    dispute accuracy of the quote.
                                                                  • The witness is shown a news
                                                                    article in which he commented,
                                                                    and asked about the
                                                                    statements he made in the
                                                                    article.
                                                                  • The question asks the witness
                                                                    about a statement of a party-
                                                                    opponent and is not hearsay
                                                                    under FRE 801.
                                                                  • This is a party-opponent
                                                                    statement as to which personal
                                                                    knowledge is not, in any event,


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Designating    Page Range   Objection                           Response
Party
                                                                  required. See Wright & Miller,
                                                                  Fed. Practice & Procedure
                                                                  § 6782.
                            102:4–20                            102:4–20
                            • Hearsay, see Fed. R. Evid. 801,   • Form objection not made at the
                              802.                                deposition is waived. ECF 403
                                                                  ¶4 & Fed. R. Civ. P. 32(d)(3)(B).
                                                                  This could have been cured by
                                                                  establishing basis for personal
                                                                  knowledge.
                                                                • The question asks the witness
                                                                  about a statement of a party-
                                                                  opponent and is not hearsay
                                                                  under FRE 801.
                                                                • This is a party-opponent
                                                                  statement as to which personal
                                                                  knowledge is not, in any event,
                                                                  required. See Wright & Miller,
                                                                  Fed. Practice & Procedure
                                                                  § 6782.
                            103:3-11                            103:3-11
                            • Hearsay, see Fed. R. Evid. 801,   • Form objection not made at the
                              802.                                deposition is waived. ECF 403
                                                                  ¶4 & Fed. R. Civ. P. 32(d)(3)(B).
                                                                  Witness’s basis for personal
                                                                  knowledge could have been
                                                                  established through
                                                                  questioning.
                                                                • The witness is describing his
                                                                  own opinions, as to which he
                                                                  has personal knowledge.
                                                                • This is a party-opponent
                                                                  statement as to which personal
                                                                  knowledge is not, in any event,
                                                                  required. See Wright & Miller,
                                                                  Fed. Practice & Procedure
                                                                  § 6782.
                            104:2-3                             104:2-3
                            • Speculation, Fed. R. Evid. 701


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Designating    Page Range   Objection                          Response
Party
                                                               • Objection waived because not
                                                                 contemporaneously made. ECF
                                                                 403 ¶4 & Fed. R. Civ. P.
                                                                 32(d)(3)(B). Additional
                                                                 questioning could have
                                                                 established witnesses basis for
                                                                 making the statement.
                                                               • The witness is responding as to
                                                                 the 2020 elections process in
                                                                 Hillsborough County, which he
                                                                 testified he oversaw, and about
                                                                 which he has personal
                                                                 knowledge.
                                                               • This is a party-opponent
                                                                 statement as to which personal
                                                                 knowledge is not, in any event,
                                                                 required. See Wright & Miller,
                                                                 Fed. Practice & Procedure
                                                                 § 6782.
                            106:6-11                           106:6-11
                            • Calls for Speculation, Fed. R.   • Objection waived because not
                              Evid. 701                          contemporaneously made. Had
                            • Lack of Personal Knowledge,        an objection been raised,
                              see Fed. R. Evid. 602.             counsel could have clarified the
                                                                 basis for the witness’s
                                                                 knowledge.
                                                               • The witness is describing his
                                                                 own opinions, as to which he
                                                                 has personal knowledge.
                                                               • The witness’s opinions are
                                                                 based on his years of
                                                                 experience as a Supervisor of
                                                                 Elections.
                                                               • In any event, this is a party-
                                                                 opponent statement as to
                                                                 which personal knowledge is
                                                                 not required. See Wright &
                                                                 Miller, Fed. Practice &
                                                                 Procedure § 6782.




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Designating    Page Range   Objection                           Response
Party
                            109:8-19                            109:8-19
                            • Lack of Personal Knowledge,       • Witness testifying about the
                              see Fed. R. Evid. 602.              contents of an FSE statement
                            • Hearsay, see Fed. R. Evid. 801,     that he has established he
                              802.                                helped prepare, about which
                            • Speculation, Fed. R. Evid. 701      he has personal knowledge.
                                                                • This is a party-opponent
                                                                  statement which is not hearsay
                                                                  under FRE 801, and as to which
                                                                  personal knowledge is not, in
                                                                  any event, required. See Wright
                                                                  & Miller, Fed. Practice &
                                                                  Procedure § 6782.
                            111:7-15                            111:7-15
                            • Hearsay, see Fed. R. Evid. 801,   • This is a party-opponent
                              802.                                statement which is not hearsay
                                                                  under FRE 801,
                                                                • Not hearsay; the witness has
                                                                  established that he prepared
                                                                  the statement referenced.
                            111:16 - 112:3                      111:16-112:3
                            • Speculation, Fed. R. Evid. 701.   • Objection waived because not
                              See 82:16 – 83:17 (“I am            contemporaneously made. ECF
                              speculating at this point, we       403 ¶4 & Fed. R. Civ. P.
                              haven't had an election.”)          32(d)(3)(B). If raised, witness
                            • Lack of Personal Knowledge,         additional questions could have
                              see Fed. R. Evid. 602. See also     elicited basis for witness’
                              82:16 – 83:17 (“I am                testimony.
                              speculating at this point, we     • The witness is describing his
                              haven't had an election.”)          own assessment of the impact
                                                                  of SB 90, as to which he has
                                                                  personal knowledge.
                                                                • The witness’s opinions are
                                                                  based on his years of
                                                                  experience as a Supervisor of
                                                                  Elections.
                                                                • This is a party-opponent
                                                                  statement as to which personal
                                                                  knowledge is not, in any event,
                                                                  required. See Wright & Miller,

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Designating    Page Range   Objection                            Response
Party
                                                                   Fed. Practice & Procedure
                                                                   § 6782.
                                                                 • The witness is explaining his
                                                                   factual understanding of the
                                                                   law, which is relevant as he will
                                                                   be the one to apply it in
                                                                   Hillsborough County.
                            112:4 – 112:8                        112:4-8
                            • Speculation, Fed. R. Evid. 701.    • The witness is explaining his
                            • Lack of Personal Knowledge,          factual understanding of the
                              see Fed. R. Evid. 602.               law, which is relevant as he will
                                                                   be the one to apply it in
                                                                   Hillsborough County.
                                                                 • The witness is describing his
                                                                   own understanding of the law,
                                                                   as to which he has personal
                                                                   knowledge.
                                                                 • The witness’s statement is
                                                                   based on his years of
                                                                   experience as a Supervisor of
                                                                   Elections.
                                                                 • This is a party-opponent
                                                                   statement as to which personal
                                                                   knowledge is not, in any event,
                                                                   required. See Wright & Miller,
                                                                   Fed. Practice & Procedure
                                                                   § 6782.
                            113:10-18                            113:10-18
                            • Speculation, Fed. R. Evid. 701.    • This is a party-opponent
                            • Lack of Personal Knowledge,          statement as to which personal
                              see Fed. R. Evid. 602.               knowledge is not, in any event,
                            • Object to Form - Compound            required. See Wright & Miller,
                              question (“Do you agree that         Fed. Practice & Procedure
                              the legislation makes it harder      § 6782.
                              to request and return a vote-      • Question does not call for a
                              by-mail ballot by . . . ?”), see     legal conclusion; the witness is
                              Atunnise v. Mukasey, 523 F.3d        explaining his factual
                              830, 835 (7th Cir.                   understanding of the law,
                              2008) (“There is a reason why        which is relevant as he will be
                              courts disfavor compound


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Designating    Page Range   Objection                            Response
Party
                              questions posed to witnesses           the one to apply it in
                              during trial; they are likely to       Hillsborough County.
                              elicit an ambiguous                •   The witness is describing his
                              response.”). (Form objection           own understanding of the law,
                              preserved at 113:16-18.)               as to which he has personal
                            • Legal conclusion, see United           knowledge.
                              States v. Barile, 286 F.3d 749,    •   The witness’s statement is
                              760 (4th Cir. 2002). Object to         based on his years of
                              Form - Assumes Facts Not in            experience as a Supervisor of
                              Evidence, Garcia v. Clark, No.         Elections.
                              1:10-CV-00447-LJO, 2012 U.S.       •   Question did not assume
                              Dist. LEXIS 51771, 2012 WL             anything; question asked for
                              1232315, at *2 (E.D. Cal. Apr.         the witness’s opinion as to the
                              12, 2012) (Form objection              provisions of SB90.
                              preserved).                        •   Question is not compound;
                                                                     question uses “request and
                                                                     return” as two related actions
                                                                     under the vote-by-mail
                                                                     provisions of SB90.
Plaintiffs     115:25—      115:25 – 116:3                       115:25 – 116:3
               144:5
                            • Speculation, Fed. R. Evid. 701.    • The witness is describing his
                            Object to Form - Compound              opinions, as to which he has
                            question (“Do you agree that           personal knowledge.
                            the legislation makes it harder      • This is a party-opponent
                            to request and return a vote-by-       statement as to which personal
                            mail ballot by . . . ?”), (Form        knowledge is not, in any event,
                            objection preserved). See              required. See Wright & Miller,
                            Atunnise v. Mukasey, 523 F.3d          Fed. Practice & Procedure
                            830, 835 (7th Cir. 2008).              § 6782.
                                                                 • The witness’s opinion is based
                                                                   on his years of experience as a
                                                                   Supervisor of Elections.
                                                                 • The question is not compound
                                                                   because “administration” and
                                                                   “bureaucracy” are related
                                                                   concepts.
                            116:5–10                             116:5–10
                            • Speculation, Fed. R. Evid. 701.    • Objection waived because not
                            • Lack of Personal Knowledge,          contemporaneously made. ECF
                              see Fed. R. Evid. 602.               403 ¶4 & Fed. R. Civ. P.

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Designating    Page Range   Objection                           Response
Party
                                                                  32(d)(3)(B). If raised, witness
                                                                  additional questions could have
                                                                  elicited basis for witness’
                                                                  testimony.
                                                                • This is a party-opponent
                                                                  statement as to which personal
                                                                  knowledge is not, in any event,
                                                                  required. See Wright & Miller,
                                                                  Fed. Practice & Procedure
                                                                  § 6782.
                                                                • The witness is describing his
                                                                  own opinions, as to which he
                                                                  has personal knowledge.
                                                                • The witness’s statement is
                                                                  based on his years of
                                                                  experience as a Supervisor of
                                                                  Elections.
                            116:12–20                           116:12–20
                            • Hearsay, see Fed. R. Evid. 801,   • Out of court statements not
                              802.                                offered for the truth of any
                                                                  factual matter but rather to
                                                                  show that the witness received
                                                                  questions from the public.
                            126:4-9                             126:4-9
                            • Speculation, Fed. R. Evid. 701.   • Objection waived because not
                                                                  contemporaneously made. ECF
                                                                  403 ¶4 & Fed. R. Civ. P.
                                                                  32(d)(3)(B). Basis for witness
                                                                  answer could be established
                                                                  through further questioning.
                                                                  For 125:25-126:3, questioner
                                                                  rephrased after initial objection
                                                                  and there was no further
                                                                  objection.
                                                                • Not speculative; the witness
                                                                   explains that the situation
                                                                   depends, and explains with an
                                                                   example.




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Designating    Page Range   Objection                           Response
Party
                                                                • The witness is describing his
                                                                  own opinions, as to which he
                                                                  has personal knowledge.
                                                                • The witness’s statement is
                                                                  based on his years of
                                                                  experience as a Supervisor of
                                                                  Elections.
                            127:16-21                           127:16-21
                            • Hearsay, see Fed. R. Evid. 801,   • Hearsay exception; present
                              802. (“Anecdotally I’ve heard       sense impression; statement
                              voters say . . . .”)                against interest.
                            130:22-131:3                        130:22-131:3
                            • Lack of Personal Knowledge,       • This is a party-opponent
                              see Fed. R. Evid. 602. -- “I        statement as to which personal
                              don’t remember the other . . .      knowledge is not, in any event,
                              I just don’t remember off the       required. See Wright & Miller,
                              top of my head right now.”          Fed. Practice & Procedure
                                                                  § 6782.
                                                                • Witness’ answer indicates he
                                                                  did have personal knowledge as
                                                                  to several members of the work
                                                                  group, and he testified that he
                                                                  was part of the FSE, so would
                                                                  have personal knowledge as to
                                                                  its members.
                            131:4-7                             131:4-7
                            • Speculation, Fed. R. Evid. 701.   • Witness testified that he was
                                                                  part of the FSE, so would have
                                                                  personal knowledge as to its
                                                                  members.
                            131:24-132:7                        131:24-132:7
                            • Lack of Personal Knowledge,       • Objection waived because not
                              see Fed. R. Evid. 602. (“… I        contemporaneously made. ECF
                              don’t remember the exact            403 ¶4 & Fed. R. Civ. P.
                              context of why I said that.”)       32(d)(3)(B). Basis for witness
                                                                  answer could be established
                                                                  through further questioning.


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Designating    Page Range   Objection                          Response
Party
                                                               • This is a party-opponent
                                                                 statement as to which personal
                                                                 knowledge is not, in any event,
                                                                 required. See Wright & Miller,
                                                                 Fed. Practice & Procedure
                                                                 § 6782.
                                                               • Witness asked about the
                                                                 contents of an email that he
                                                                 wrote, about which he has
                                                                 personal knowledge.
                            135:7-11                           135:7-11
                            • Calls for Speculation, Fed. R.   • Objection waived because not
                              Evid. 701.                          contemporaneously made.
                            • Lack of Personal Knowledge,         ECF 403 ¶4 & Fed. R. Civ. P.
                              see Fed. R. Evid. 602.              32(d)(3)(B). Basis for witness
                                                                  answer could be established
                                                                  through further questioning.
                                                                • This is a party-opponent
                                                                  statement as to which
                                                                  personal knowledge is not, in
                                                                  any event, required. See
                                                                  Wright & Miller, Fed. Practice
                                                                  & Procedure § 6782.
                                                               • Witness is testifying as to his
                                                                  personal experience as a
                                                                  Supervisor of Elections.
                            137:23 - 138:2                     137:23 - 138:2
                            • Calls for Speculation, Fed. R.   • This is a party-opponent
                              Evid. 701.                         statement as to which personal
                            • Lack of Personal Knowledge,        knowledge is not required. See
                              see Fed. R. Evid. 602.             Wright & Miller, Fed. Practice &
                                                                 Procedure § 6782.
                                                               • The witness is providing his
                                                                 own opinions, based on his
                                                                 years of experience as a
                                                                 Supervisor of Elections, about
                                                                 which he has personal
                                                                 knowledge.



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Designating    Page Range   Objection                             Response
Party
                            138:4-13                              138:4-13
                            • Calls for Speculation, Fed. R.      • This is a party-opponent
                              Evid. 701.                            statement as to which personal
                            • Lack of Personal Knowledge,           knowledge is not required. See
                              see Fed. R. Evid. 602.                Wright & Miller, Fed. Practice &
                                                                    Procedure § 6782.
                                                                  • The witness is providing his
                                                                    own opinions, based on his
                                                                    years of experience as a
                                                                    Supervisor of Elections, about
                                                                    which he has personal
                                                                    knowledge.
                            141:21-25                             141:21-25
                            • Calls for a legal conclusion, see   • This is a party-opponent
                               United States v. Barile, 286         statement as to which personal
                               F.3d 749, 760 (4th Cir. 2002).       knowledge is not required. See
                             • Calls for Speculation, Fed. R.       Wright & Miller, Fed. Practice &
                               Evid. 701.                           Procedure § 6782.
                             • Lack of Personal Knowledge,        • The witness is explaining his
                               see Fed. R. Evid. 602.               factual understanding of the
                                                                    law, which is relevant as he will
                                                                    be the one to apply it in
                                                                    Hillsborough County.
Plaintiffs     148:16 –     148:16-20                             148:16-20, 21-23
               148:23
                            • Hearsay, see Fed. R. Evid. 801,     • Out of court statements not
                              802.                                  offered for the truth of any
                                                                    factual matter but rather to
                                                                    show that the witness
                            148:21-23
                                                                    received questions from the
                            • Hearsay, see Fed. R. Evid. 801,       public.
                              802.

Plaintiffs     156:13 –     156:13-23                             156:13-23
               170:22
                            • Lack of Personal Knowledge,         • This is a party-opponent
                              see Fed. R. Evid. 602. (“I can’t      statement as to which personal
                              give you a name right off the         knowledge is not required. See
                              bat.”)                                Wright & Miller, Fed. Practice &
                                                                    Procedure § 6782.



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Designating    Page Range   Objection                           Response
Party
                            157:23-158:2                        157:23-158:2
                            • Calls for Speculation, Fed. R.    • This is a party-opponent
                              Evid. 701.                          statement as to which personal
                            • Lack of Personal Knowledge,         knowledge is not required. See
                              see Fed. R. Evid. 602.              Wright & Miller, Fed. Practice &
                            • Object to Form - Vague as to        Procedure § 6782.
                              time and version/iteration of     • The witness’s response is based
                              Senate Bill 90, and meaning of      on personal knowledge from
                              “were not in response to            his experience as a Supervisor
                              requests.” see Cincinnati Ins.      of Elections during the SB90
                              Co. v. Serrano, No. 11-2075-        legislative process.
                              JAR, 2012 U.S. Dist. LEXIS        • The question is not vague. The
                              1363, at *13 (D. Kan. Jan. 5,       witness was able answer, and
                              2012). Form objection               objecting counsel could have
                              preserved at 158:1.                 asked for clarification during
                                                                  re-direct.
                            159:17-23                           159:17-23
                            • Calls for Speculation, Fed. R.    • Objection waived because not
                              Evid. 701.                          contemporaneously made. ECF
                            • Lack of Personal Knowledge,         403 ¶4 & Fed. R. Civ. P.
                              see Fed. R. Evid. 602.              32(d)(3)(B). Basis for
                            • Hearsay, see Fed. R. Evid. 801,     foundation and basis for
                              802, as to lines 159:21-23.         personal knowledge could have
                                                                  been established through
                                                                  further questioning.
                                                                • This is a party-opponent
                                                                  statement which is not hearsay
                                                                  under FRE 801, and as to which
                                                                  personal knowledge is not
                                                                  required. See Wright & Miller,
                                                                  Fed. Practice & Procedure
                                                                  § 6782.
                                                                • In any event, this is not
                                                                  hearsay. Witness is describing
                                                                  what he observed.

                            160:2–6                             160:2–6
                            • Hearsay, see Fed. R. Evid. 801,   • Objection waived because not
                              802.                                contemporaneously made. ECF
                                                                  403 ¶4 & Fed. R. Civ. P.

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Designating    Page Range   Objection                           Response
Party
                                                                  32(d)(3)(B). Basis for
                                                                  foundation could have been
                                                                  established through further
                                                                  questioning.
                                                                • Any out-of-court statements of
                                                                  the voters are present sense
                            161:16-22                           161:16-22
                            • Hearsay, see Fed. R. Evid. 801,   • Any out-of-court statements of
                              802.                                the voters are present sense.
                            162:12-20                           162:12-20
                            • Calls for Speculation, Fed. R.    • Objection waived because not
                              Evid. 701.                          contemporaneously made. ECF
                            • Lack of Personal Knowledge,         403 ¶4 & Fed. R. Civ. P.
                              see Fed. R. Evid. 602.              32(d)(3)(B). Basis for
                            • Object to Form - Lack of            foundation and basis for
                              Foundation, see Fed. R. Evid.       personal knowledge could have
                              602. (Objection preserved at        been established through
                              162:16-17)                          further questioning.
                                                                • This is a party-opponent
                                                                  statement as to which personal
                                                                  knowledge is not required. See
                                                                  Wright & Miller, Fed. Practice &
                                                                  Procedure § 6782.
                                                                • The witness’s testimony is
                                                                  based on his experience as a
                                                                  Supervisor of Elections, on
                                                                  which he has personal
                                                                  knowledge.
                            164:1-9                             164:1-9
                            • Calls for Speculation, Fed. R.  • This is a party-opponent
                              Evid. 701.                        statement as to which personal
                            • Lack of Personal Knowledge,       knowledge is not required. See
                              see Fed. R. Evid. 602.            Wright & Miller, Fed. Practice &
                            • Lack of Foundation, see Fed. R.   Procedure § 6782.
                              Evid. 602.                      • The witness’s testimony is
                                                                based on his experience as a
                                                                Supervisor of Elections, on
                                                                which he has personal
                                                                knowledge.


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Designating    Page Range   Objection                           Response
Party
                            166:2-8                             166:2-8
                            • Hearsay, see Fed. R. Evid. 801,   • No out of court statement
                              802.                                presented.
                                                                • The witness’s testimony is from
                                                                  his personal knowledge based
                                                                  on years of experience as a
                                                                  Supervisor of Elections.
                            166:19 – 167:2                      166:19-167:2
                            • Calls for Speculation, Fed. R.    • Objection waived because not
                              Evid. 701.                          contemporaneously made. ECF
                            • Lack of Personal Knowledge,         403 ¶4 & Fed. R. Civ. P.
                              see Fed. R. Evid. 602.              32(d)(3)(B). Basis for personal
                            • Object to Form - Lack of            knowledge could have been
                              Foundation, see Fed. R. Evid.       established through further
                              602. (Objection preserved at        questioning.
                              166:22).                          • This is a party-opponent
                                                                  statement as to which personal
                                                                  knowledge is not required. See
                                                                  Wright & Miller, Fed. Practice &
                                                                  Procedure § 6782.
                            168:19-23                           168:19-23
                            • Calls for Speculation, Fed. R.    • Objection waived because not
                              Evid. 701.                          contemporaneously made. ECF
                            • Lack of Personal Knowledge,         403 ¶4 & Fed. R. Civ. P.
                              see Fed. R. Evid. 602.              32(d)(3)(B). Basis for personal
                                                                  knowledge could have been
                                                                  established through further
                                                                  questioning.
                                                                • This is a party-opponent
                                                                  statement as to which personal
                                                                  knowledge is not required. See
                                                                  Wright & Miller, Fed. Practice &
                                                                  Procedure § 6782.
                                                                • The witness is describing his
                                                                  own opinions, based on his
                                                                  years of experience as a
                                                                  Supervisor of Elections, as to
                                                                  which he has personal
                                                                  knowledge.


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Designating    Page Range    Objection                            Response
Party
                                                                  • The witness’s testimony is
                                                                    based on his factual
                                                                    understanding of the law,
                                                                    which is relevant as he will be
                                                                    the one to apply it in
                                                                    Hillsborough County.
                             169:17-19                            169:24 – 170:7
                            • Calls for a legal conclusion, see• The witness is describing his
                              United States v. Barile, 286       own opinions, as to which he
                              F.3d 749, 760 (4th Cir. 2002).     has personal knowledge.
                                                               • This is a party-opponent
                             169:24 – 170:7                      statement as to which personal
                                                                 knowledge is not required. See
                             • Calls for Speculation, Fed. R.
                                                                 Wright & Miller, Fed. Practice &
                               Evid. 701.
                                                                 Procedure § 6782.
                             • Lack of Personal Knowledge,
                                                               • The witness’s opinions are
                               see Fed. R. Evid. 602.
                                                                 based on his years of
                             • Lack of Foundation, see Fed. R.
                                                                 experience as a Supervisor of
                               Evid. 602.
                                                                 Elections.
Plaintiffs     175:2 – 182:9 175:2-8                              175:2-8
                             • Lack of Personal Knowledge,        • Objection waived because not
                               see Fed. R. Evid. 602. (“I don’t     contemporaneously made. ECF
                               remember writing that. And I         403 ¶4 & Fed. R. Civ. P.
                               wouldn’t have had any direct         32(d)(3)(B). Basis for witness
                               knowledge of that . . . .”)          answer could be established
                                                                    through further questioning.
                                                                  • This is a party-opponent
                                                                    statement as to which personal
                                                                    knowledge is not, in any event,
                                                                    required. See Wright & Miller,
                                                                    Fed. Practice & Procedure
                                                                    § 6782.
                                                                  • Foundation and personal
                                                                    knowledge established at
                                                                    174:8-9.
                                                                  • Personal knowledge of the
                                                                    email in question established;
                                                                    witness testified he did not
                                                                    write the particular sentence
                                                                    highlighted in the email chain.

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Designating    Page Range   Objection                           Response
Party
                            175:15-23                           175:15-23
                            • Lack of Personal Knowledge,       • Objection waived because not
                              see Fed. R. Evid. 602.              contemporaneously made. ECF
                            • Calls for Speculation, Fed. R.      403 ¶4 & Fed. R. Civ. P.
                              Evid. 701.                          32(d)(3)(B). Basis for witness
                                                                  answer could be established
                                                                  through further questioning.
                                                                • This is a party-opponent
                                                                  statement as to which personal
                                                                  knowledge is not, in any event,
                                                                  required. See Wright & Miller,
                                                                  Fed. Practice & Procedure
                                                                  § 6782.
                                                                • The witness is describing his
                                                                  own opinions, as to which he
                                                                  has personal knowledge.
                                                                • The witness’s opinions are
                                                                  based on his years of
                                                                  experience as a Supervisor of
                                                                  Elections.
Plaintiffs     190:20 –     192:5-9                             192:5-9
               192:18
                            • Speculation, Fed. R. Evid. 701.   • Objection waived because not
                                                                  contemporaneously made. ECF
                                                                  403 ¶4 & Fed. R. Civ. P.
                                                                  32(d)(3)(B). Basis for witness
                                                                  answer could be established
                                                                  through further questioning.
                                                                • This is a party-opponent
                                                                  statement as to which personal
                                                                  knowledge is not, in any event,
                                                                  required. See Wright & Miller,
                                                                  Fed. Practice & Procedure
                                                                  § 6782.
                                                                • Question does not call for
                                                                  speculation; question asks for
                                                                  the witness’s
                                                                  perspective/opinion based on
                                                                  his personal experience as a
                                                                  Supervisor of Elections.



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Designating    Page Range   Objection                           Response
Party
                            192:15-18                           192:15-18
                            • Speculation, Fed. R. Evid. 701.   • Objection waived because not
                              (“I think it’s totally              contemporaneously made. ECF
                              hypothetical.”)                     403 ¶4 & Fed. R. Civ. P.
                            • Lack of Personal Knowledge,         32(d)(3)(B). Basis for witness
                              see Fed. R. Evid. 602.              answer could be established
                                                                  through further questioning.
                                                                • This is a party-opponent
                                                                  statement as to which personal
                                                                  knowledge is not, in any event,
                                                                  required. See Wright & Miller,
                                                                  Fed. Practice & Procedure
                                                                  § 6782.
                                                                • The witness is describing his
                                                                  own opinions, as to which he
                                                                  has personal knowledge.
                                                                • The witness’s opinions are
                                                                  based on his years of
                                                                  experience as a Supervisor of
                                                                  Elections.




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